  Case 1:22-mc-00100-BAH  Document
       Case 1:22-mc-00100-BAH      14 *SEALED*
                              Document            Filed 02/23/23
                                        18 Filed 02/23/23   Page 1Page
                                                                   of 321 of 32




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 IN RE APPLICATION OF THE NEW YORK
 TIMES COMPANY AND CHARLIE                            Miscellaneous Action No. 22-100 (BAH)
 SAVAGE FOR ACCESS TO CERTAIN
 DOCKETS, ORDERS, LEGAL BRIEFING,                     (consolidated with
 AND ARGUMENT TRANSCRIPTS                             Miscellaneous Action No. 22-104)
 ANCILLARY TO JANUARY 6 GRAND
 JURY PROCEEDINGS                                     Chief Judge Beryl A. Howell

                                                      REDACTED VERSION




                                  MEMORANDUM OPINION

       The sealing ofjudicial decisions and ancillary judicial records relied on to resolve matters

pending before the Court is anathema, "reflect[ing] the antipathy of a democratic country to the

notion of 'secret law,' inaccessible to those who are governed by that law." In re Leopold to

Unseal Certain Elec. Surveillance Applications & Orders ("Leopold"), 964 F.3d 1121, 1127

(D.C. Cir. 2020). Indeed, "the issuance of public opinions is core to the transparency of the

court's decisionmaking process," id. at 1128 (internal citation omitted), and, as such, is "a

fundamental norm of our judicial system: that judges' decisions and their rationales must be

available to the public," id. at 1130. Public access to judicial records is '"important to

maintaining the integrity and legitimacy of an independent Judicial Branch,'" id. at 1127

(quoting MetLife, Inc. v. Fin. Stability Oversight Council, 865 F.3d 661, 663 (D.C. Cir. 2017)),

and serves "to produce an informed and enlightened public opinion" as well as "to safeguard

against any attempt to employ our courts as instruments of persecution, to promote the search for

truth, and to assure confidence in judicial remedies," id. The courts have long recognized that

the press plays a critical role in facilitating public access and acknowledged that "[o]ne of the

demands of a democratic society is that the public should know what goes on in courts by being

                                                  1
Case 1:22-mc-00100-BAH Document 18 Filed 02/23/23 Page 2 of 32
Case 1:22-mc-00100-BAH Document 18 Filed 02/23/23 Page 3 of 32
Case 1:22-mc-00100-BAH Document 18 Filed 02/23/23 Page 4 of 32
Case 1:22-mc-00100-BAH Document 18 Filed 02/23/23 Page 5 of 32
Case 1:22-mc-00100-BAH Document 18 Filed 02/23/23 Page 6 of 32
Case 1:22-mc-00100-BAH Document 18 Filed 02/23/23 Page 7 of 32
Case 1:22-mc-00100-BAH Document 18 Filed 02/23/23 Page 8 of 32
Case 1:22-mc-00100-BAH Document 18 Filed 02/23/23 Page 9 of 32
Case 1:22-mc-00100-BAH Document 18 Filed 02/23/23 Page 10 of 32
Case 1:22-mc-00100-BAH Document 18 Filed 02/23/23 Page 11 of 32
Case 1:22-mc-00100-BAH Document 18 Filed 02/23/23 Page 12 of 32
Case 1:22-mc-00100-BAH Document 18 Filed 02/23/23 Page 13 of 32
Case 1:22-mc-00100-BAH Document 18 Filed 02/23/23 Page 14 of 32
Case 1:22-mc-00100-BAH Document 18 Filed 02/23/23 Page 15 of 32
Case 1:22-mc-00100-BAH Document 18 Filed 02/23/23 Page 16 of 32
Case 1:22-mc-00100-BAH Document 18 Filed 02/23/23 Page 17 of 32
Case 1:22-mc-00100-BAH Document 18 Filed 02/23/23 Page 18 of 32
Case 1:22-mc-00100-BAH Document 18 Filed 02/23/23 Page 19 of 32
Case 1:22-mc-00100-BAH Document 18 Filed 02/23/23 Page 20 of 32
Case 1:22-mc-00100-BAH Document 18 Filed 02/23/23 Page 21 of 32
Case 1:22-mc-00100-BAH Document 18 Filed 02/23/23 Page 22 of 32
Case 1:22-mc-00100-BAH Document 18 Filed 02/23/23 Page 23 of 32
Case 1:22-mc-00100-BAH Document 18 Filed 02/23/23 Page 24 of 32
Case 1:22-mc-00100-BAH Document 18 Filed 02/23/23 Page 25 of 32
Case 1:22-mc-00100-BAH Document 18 Filed 02/23/23 Page 26 of 32
Case 1:22-mc-00100-BAH Document 18 Filed 02/23/23 Page 27 of 32
Case 1:22-mc-00100-BAH Document 18 Filed 02/23/23 Page 28 of 32
Case 1:22-mc-00100-BAH Document 18 Filed 02/23/23 Page 29 of 32
Case 1:22-mc-00100-BAH Document 18 Filed 02/23/23 Page 30 of 32
Case 1:22-mc-00100-BAH Document 18 Filed 02/23/23 Page 31 of 32
Case 1:22-mc-00100-BAH Document 18 Filed 02/23/23 Page 32 of 32
